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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

         Civil Action No. 1:20-cv-1435

         DOUGLAS WOODS, an individual

                Plaintiff,

         v.

         ROCKY VISTA UNIVERSITY;
         BOARD OF TRUSTEES OF ROCKY VISTA UNIVERSITY;
         THOMAS TOLD, individually and in his official capacity as Vice President for
         Academic Affairs and Dean for Rocky Vista University;
         AMY SCHLUETER, individually and in her official capacity as Associate Dean of
         Student Affairs for Rocky Vista University;

                Defendant,



                                    COMPLAINT WITH JURY DEMAND


         Douglas Woods (“Mr. Woods” or “Plaintiff”), by and through counsel, Igor Raykin

     and Makenzie Bogart of Kishinevsky & Raykin, LLC, respectfully files this action against

     Defendants Rocky Vista University (“RVU”), the Board of Trustees of Rocky Vista

     University (“Board” or “Board of Trustees”), Thomas Told (“Dean Told”), and Amy

     Schlueter (“Ms. Schlueter”) and states on information and belief as follows. This action seeks

     injunctive relief and appropriate damages and costs.

                               I.      JURISDICTION AND VENUE

  1. The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331. Federal question

     jurisdiction arises under the Constitution and laws of the United States of America, including

     but not limited to the Americans with Disabilities Act (42 U.S.C. 12101 et seq.) and Section

     504 of the Rehabilitation Act of 1973 (29 U.S.C. § 701 et seq.).
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  2. The Court has jurisdiction over the state law claims under 28 U.S.C. § 1367.

  3. Plaintiff Douglas Woods is a resident of Arapahoe County, Colorado.

  4. Defendant Rocky Vista University has as its principal place of business Douglas County,

     Colorado.

  5. Venue is proper pursuant to 28 U.S.C. § 1391(b) as the wrongful acts alleged by the Plaintiff

     occurred in whole or in part in Douglas County, Colorado.

                                         I.      THE PARTIES

  6. Mr. Woods has been a student at Rocky Vista University in the College of Osteopathic

     Medicine (“RVU” or “Defendant”) since the summer of 2018.

  7. Mr. Woods is a disabled individual as defined by the American with Disabilities Act

     (“ADA”). The ADA provides that an individual is disabled for purposes of the Act when a

     person has an impairment that “substantially limits a major life activity.” 42 U.S.C. 12102(1).

     Major life activities “include, but are not limited to, caring for oneself, performing manual

     tasks, seeing, hearing, eating, sleeping, walking, standing, lifting, bending, speaking,

     breathing, learning, reading, concentrating, thinking, communicating, and working.” Id.

  8. Mr. Woods’ disabilities include post-traumatic stress disorder (“PTSD”) an immune disorder

     called chronic reoccurring idiopathic angioedema which causes severe swelling of the body,

     typically the eyes and lips and attacks occur periodically.

  9. Mr. Woods’ disabilities substantially limit the major life activities of concentration and

     learning.

  10. Mr. Woods is on medication and receives private counseling.

  11. As a result of Mr. Woods’ disabilities, he sought accommodations from RVU at the

     beginning of his enrollment at the university.
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  12. Mr. Woods went to the Director of Pre-Clinical Education, Dr. Jennifer Montemayor (“Dr.

     Montemayor”), at the start of the school year during the summer of 2018 and discussed with

     her the idiopathic angioedema he suffers from and its effects on his learning. Dr.

     Montemayor told Mr. Woods that he did not need formal accommodations and that he would

     be excused when he had an idiopathic angioedema episode.

  13. Therefore, Mr. Woods began attending classes in reliance upon the statements of Dr.

     Montemayor, as an agent of RVU, with the belief that he would be excused during an

     episode.

  14. During Mr. Woods’ immunology course, he suffered a significant angioedema episode. His

     eyes were swollen to the point where he was unable to see the entire weekend before an

     exam. The swelling resolved on the day of the exam to the point where Mr. Woods could see

     so he took the exam with his eyes still partially swollen. As a result, Mr. Woods failed the

     exam and therefore the course and did not receive any accommodations despite his condition.

  15. Mr. Woods then took a medical leave of absence for the remainder of the 2018-2019 school

     year.

  16. When Mr. Woods returned to RVU following his medical leave of absence, he had to restart

     his medical education despite having passed all of his courses except his immunology course.

  17. Still receiving no accommodations for his disability, Mr. Woods again began to struggle.

  18. In January of 2019, Mr. Woods had received a formal diagnosis for PTSD and was informed

     by his doctor that PTSD exacerbates the idiopathic angioedema.

  19. Mr. Woods’ PTSD had been exacerbated due to a legal battle he was facing with the state of

     Washington over his pension from his time as a firefighter. His PTSD stemmed from his

     work as a firefighter.
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  20. As a result of his exacerbated disabilities and lack of accommodations, Mr. Woods failed his

     first course of the 2019-2020 academic year, which was a course he had already passed the

     prior year.

  21. Mr. Woods was then informed that he was required to appear before the Student Performance

     Committee (“SPC”) due to the course failure. Prior to the SPC meeting, Vice President for

     Academic Affairs and Dean Thomas Told (“Dean Told”), sent an email to the student body

     that stated:

                   “Dear Student Doctors:
              I trust you had a restful summer and you are ready to go for the upcoming academic
         year. I am writing to update you regarding new COM academic standing policies, which
         were effective July 1, 2019. Please consider the new policies to supersede the Dean’s
         letter you received regarding the term of your academic probation period. Beginning with
         the new academic term, students repeating the year are no longer on academic probation.
         Please refer to the pages 64 & 65 of the student handbook for the definitions of good
         academic standing, academic warning, and academic probation. We hope that whatever
         challenges you had in the past are resolved and that this gives you an opportunity to start
         with a clean slate and have a successful time going forward.
                   Sincerely,
                   Dr. Tom Told”


  22. Despite the student handbook change, Mr. Woods was still required to appear before the

     SPC. At this meeting, Mr. Woods disclosed his PTSD diagnosis as well as this legal battle

     with the state of Washington.

  23. After the meeting, Associate Dean of Student Affairs Amy Schlueter (“Ms. Schlueter”) met

     with Mr. Woods. An accommodations meeting was discussed and scheduled. Mr. Woods

     wanted a student representative present at his accommodations meeting because of Ms.

     Schlueter’s reputation among students for misrepresentation of facts. However, Ms.

     Schlueter denied Mr. Woods’ request for a student representative.
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  24. Mr. Woods was then precluded from having the accommodations meeting by Ms. Schlueter

     and denied accommodations.

  25. In November of 2019, Mr. Woods had failed his Respiratory course and was again required

     to appear before the SPC.

  26. After his meeting with the SPC, Mr. Woods was recommended for dismissal.

  27. Shortly thereafter, Mr. Woods was informed that he had failed another course, Osteopathic

     Manipulative Treatment (“OMT”).

  28. Mr. Woods then appealed the dismissal and met with the Vice President for Academic

     Affairs and Dean, Thomas Told (“Dean Told”).

  29. At this meeting, Dean Told offered to allow Mr. Woods to remediate the two courses

     contingent upon his completion and passing of another course, Renal I. After passing these

     courses, Mr. Woods was then to finish the Immunology course that he had been unable to

     complete due to another idiopathic angioedema episode.

  30. Due to even more severe exacerbations of his disabilities, Mr. Woods asked for another

     medical leave of absence but was denied.

  31. The semester ended on December 16, 2019 which was the date of the final exam for Renal I.

  32. Mr. Woods requested additional days to study for and take the exam due to medical reasons,

     which was scheduled for December 20, 2019. The new date of Mr. Woods’ exam was

     December 23, 2019.

  33. Mr. Woods’ Respiratory exam, contingent upon his passing of Renal I, was scheduled for

     January 6, 2020.

  34. On December 21, 2019, Mr. Woods was in the emergency room for a separate medical

     emergency.
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  35. Mr. Woods did not want to share this sensitive health information with RVU, but Ms.

     Schlueter called him the same day from her personal phone while he was be treated in the

     emergency room. He was planning to disclose the fact that he was in the hospital until she

     began to harass and berate him for being unable to take his exam.

  36. On December 23, 2019, Dean Told was notified that Mr. Woods failed Renal I and informed

     Mr. Woods that he would not be allowed to remediate the other courses he had failed.

  37. Plaintiff was ultimately dismissed from RVU on January 2, 2020.

                            II.     CLAIMS AND CAUSES OF ACTION

                         A. FIRST CLAIM FOR RELIEF
     (VIOLATION OF SECTION 504 OF THE REHABILITATION ACT- AGAINST RVU)

  38. Mr. Woods reincorporates and realleges all other paragraphs as if fully set forth herein.

  39. Section 504 of the Rehabilitation Act (“Section 504”), 29 U.S.C. § 794, and its implementing

     regulations apply to recipients of federal financial assistance from the Department of

     Education. See 34 C.F.R. § 104.2.

  40. RVU receives such federal financial assistance and is thus subject to Section 504.

  41. Among other things, Section 504 requires that:

             A recipient may not, directly or through contractual or other arrangements, utilize
             criteria or methods of administration (i) that have the effect of subjecting qualified
             handicapped persons to discrimination on the basis of handicap, (ii) that have the
             purpose or effect of defeating or substantially impairing accomplishment of the
             objectives of the recipient’s program with respect to handicapped persons, or (iii) that
             perpetuate the discrimination of another recipient if both recipients are subject to
             common administrative control or are agencies of the same states. C.F.R. §
             104.4(b)(4).
  42. With regards to postsecondary educational entities, 34 C.F.R. § 104.43 prohibits universities

     receiving federal funds from excluding, discriminating against, or otherwise denying benefits

     to qualified students on the basis of their handicap.
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  43. Moreover, any such university must “make such modifications to its academic requirements

     as are necessary to ensure that such requirements do not discriminate or have the effect of

     discriminating, on the basis of handicap, against a qualified handicapped applicant or

     student.” 34 C.F.R. § 104.44(a).

  44. Education institutions have a “real obligation…to seek suitable means of reasonably

     accommodating a handicapped person and to submit a factual record indicating that it

     conscientiously carried out this obligation.” Wong v. Regents of the Univ. of California, 192

     F.3d 807, 817 (1999) (quoting Zukle v. Regents of the Univ. of California, 166 F.3d 1041,

     1048 (9th Cir. 1999) and Wynne v. Tufts Univ. Sch. Of Med., 932 F.2d 19, 25-26 (1st Cir.

     1991) (en banc)).

  45. Mr. Woods was and is qualified to attend RVU.

  46. Mr. Woods is a qualified individual with a disability under Section 504.

  47. Despite notice of Mr. Wood’s qualifying handicaps, Defendant intentionally discriminated

     against him, was deliberately indifferent to his rights, and intentionally denied him benefits

     solely on the basis of his disabilities and working to damage his academic prospects and

     professional reputation.

  48. Defendant also failed to provide Mr. Woods with reasonable accommodations that allowed

     him access to his professional education. Although RVU allowed him to remediate courses,

     RVU did not provide Mr. Woods with the accommodations he needed which would have

     prevented him from needing to remediate the courses in the first place.

  49. Accommodations such as counselling, tutors, note-takers, or taped lectures were not provided

     even after Mr. Woods gave notice to RVU about his diagnosis and made a formal request for

     accommodations.
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  50. Defendant’s violation of Mr. Woods’ rights under Section 504 caused Mr. Woods to suffer

     damages, including by not limited to psychological, emotional, and reputational damages in

     addition to the loss of educational opportunities, as well as attorney’s fees incurred in this

     action.

                        B. SECOND CLAIM FOR RELIEF
       (VIOLATION OF TITLE III OF THE AMERICANS WITH DISABILITIES ACT-
                            AGAINST ALL DEFENDANTS)

  51. Mr. Woods incorporates the allegations set forth above as if fully set forth herein.

  52. Mr. Woods also seeks to enforce Title III of the Americans with Disabilities Act (“Title III”),

     which requires, among other things, that a public accommodation: (1) not deny persons with

     disabilities the benefits of its services, facilities, privileges and advantages; (2) not provide

     such persons with benefits that are unequal to those provided to nondisabled persons; Under

     Title III, places of accommodation include an “undergraduate, or postgraduate private school,

     or other place of education.” 42 U.S.C. § 12181(7)(J).

  53. On information and belief, RVU has received at all times relevant hereto, and continues to

     receive, federal student aid in the form of federal student loans and grants through the Free

     Application for Federal Student Aid. 29 U.S.C. § 794(a)-(b).

  54. As an “undergraduate, or postgraduate private school,” RVU is a place of public

     accommodation under the ADA. 42 U.S.C. § 12181(7)(J).

  55. Because Defendant RVU receives federal financial assistance and is a place of public

     accommodation, it is subject to Title III.

  56. Defendant RVU has engaged in illegal disability discrimination, as defined by Title III, by

     denying Mr. Woods the benefits of its services, facilities, privileges and advantages on the
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     basis of his disability and did not provide him with benefits that are equal to those provided

     to nondisabled persons.

  57. Defendant RVU has violated Title III by, without limitation, failing to provide reasonable

     accommodations. Mr. Woods was arbitrarily denied accommodations for his disabilities

     when he started at the university.

  58. Defendant RVU has further violated Title III by, without limitation, failing to provide

     reasonable accommodations after Mr. Woods obtained a diagnosis and was prepared to

     provide documentation for that diagnosis before he was dismissed from the university.

  59. Defendant RVU’s ongoing and continuing violations of Title III have caused and will

     continue to cause harm to Plaintiff.

  60. Defendant’s violation of Mr. Woods’ rights under Title III caused Mr. Woods to suffer

     damages, including by not limited to psychological, emotional, and reputational damages in

     addition to the loss of educational and career opportunities, as well as attorney’s fees

     incurred in this action.

                            D. THIRD CLAIM FOR RELIEF
           (BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING – AGAINST
                                       RVU)

  61. Plaintiff reincorporates and realleges all other paragraphs as if fully set forth herein.

  62. Plaintiff’s agreement with RVU to provide educational services in exchange for the payment

     of tuition monies qualifies as a contract, involving the mutual exchange of promises, mutual

     assent, and supporting consideration.

  63. Thus, it is subject to the duty of good faith and fair dealing that is implied into every contract,

     under which a contracting party is prohibited from exercising its discretion in a manner that
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       contradicts the other party’s reasonable expectations thereunder or in a manner that deprives

       the other of their benefits under the contract.

   64. RVU’s actions in refusing to accommodate Plaintiff and preventing him from enjoying the

       benefits afforded to him under the contract breached the duty of good faith and fair dealing,

       causing him to suffer injuries, damages, and losses in an amount to be proven at trial.


                                     E. FOURTH CLAIM FOR RELIEF
                                 (BREACH OF CONTRACT – AGAINST RVU)

   65. Plaintiff reincorporates and realleges all other paragraphs as if fully set forth herein.

   66. Plaintiff’s agreement with RVU to provide educational services in exchange for the payment

       of tuition monies qualifies as a contract, involving the mutual exchange of promises, mutual

       assent, and supporting consideration.

   67. Part of that contract was RVU’s promise to comply with its legal obligations not to

       discriminate against Plaintiff and to accommodate Plaintiff’s disabilities.

   68. Yet, in refusing to accommodate Plaintiff’s documented disabilities, RVU breached, and in

       failing to accommodate his disabilities, which actions were unlawful, constitute a breach of

       that contract and caused him to suffer injuries, damages, and losses in an amount to be

       proven at trial.

                                        F. FIFTH CLAIM FOR RELIEF
                                            (INJUNCTIVE RELIEF)

   69. Plaintiff realleges all other paragraphs as if fully set forth herein.

   70. As evidenced by the dispute over Plaintiff’s appropriate accommodations and this Complaint,

       an actual controversy exists between the parties as to whether the Defendants violated

       Section 504, the ADA, and the contract for educational services, and therefore an actual

       justiciable controversy is involved.
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   71. Under 42 U.S.C. 12188, Plaintiff petitions for injunctive relief including an order to

      Defendants to modify their policy, remove the failing grades and dismissal from Plaintiff’s

      transcript, and amend his record to show that Plaintiff withdrew from RVU in good standing.

   72. Plaintiff further requests that the Court: (1) issue a temporary restraining order and a

      preliminary injunction pursuant to F.R.C.P. 65, ordering Defendants, their officers, agents,

      employees, successors, attorneys, and all those in active concert or participation with them to

      refrain immediately and pending the final hearing and determination of this action from

      discriminatory conduct; (2) issue a permanent injunction perpetually enjoining and

      restraining Defendants, their officers, agents, employees, successors, attorneys, and all those

      in active concert or participation with them, of the conduct complain; (3) award to Plaintiff

      costs and disbursements, as well as reasonable attorney’s fees; and (4) award Plaintiff such

      other and further relief as this Court may deem proper, including but not limited to requiring

      the Defendants to effect proper training to prevent the recurrence of such conduct in their

      hiring, firing, training and educational policies and procedures.

   73. Plaintiff, requests that judgment enter in his favor and against the Defendants, in an amount

      to be determined by a judge or jury and that the Court also award the Plaintiff his legal fees

      and costs incurred in pursuing this action.



                                             III.    DAMAGES


   74. Defendants’ discriminatory and retaliatory conduct described above has caused the Plaintiff

      the following damages:

           a. Lost future wages and benefits in amounts to be established at trial;

           b. Damage to professional reputation, in an amount to be established at trial;
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           c. Emotional upset, stress, and anxiety in an amount to be established at trial;

           d. Medical costs and damages as a result of Defendants’ discriminatory conduct in an

                amount to be established at trial;

           e. Out of pocket expenses, litigation costs, and attorney fees in amounts to be

                established at trial.

   75. Defendant’s violation of Title III was willful, entitling the plaintiff to an award of punitive

      damages to the fullest extent permitted by law.



                                         V. PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests the court enter judgment in his favor and

      against Defendants as follows:

   76. A declaration that Defendant RVU’s conduct as alleged here has violated, and continues to

      violate, Section 504 of the Rehabilitation Act of 1973, Title III of the Americans with

      Disabilities Act of 1990, and the regulations promulgated under those statutes;

   77. Awarding the Plaintiff special damages for lost future wages, benefits, and out of pocket

      expenses in amounts to be established at trial;

   78. Awarding the Plaintiff general damages for emotional distress and damage to professional

      reputation in an amount to be established at trial;

   79. Punitive damages, pursuant to 42 U.S.C. § 1981, 2000(e), in the maximum amount permitted

      by law;

   80. Awarding the Plaintiff statutory and reasonable attorney fees, litigation expenses, and costs

      incurred in this action;

   81. Granting the Plaintiff injunctive relief;
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   82. Awarding the Plaintiff post-judgment interest on his lost wages award and economic loss;

      and

   83. Awarding the Plaintiff any additional and further relief that the court finds equitable,

      appropriate, or just.



             PLAINTIFF DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE


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